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     Assistant Federal Defender
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5
     Attorney for Defendant
6    SHELLBY L. MOORE
7
                              IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                   ) Case No. 2:16-cr-00147-MCE
                                                  )
11                   Plaintiff,                   ) STIPULATION AND ORDER TO
                                                  ) CONTINUE STATUS CONFERENCE
12           vs.                                  )
                                                  ) Date: September 8, 2016
13    SHELLBY L. MOORE,                           ) Time: 10:00 a.m.
                                                  ) Judge: Hon. Morrison C. England, Jr.
14                   Defendant.                   )
                                                  )
15                                                )
16
            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting U.S. Attorney,
17
     through, Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff, and
18
     Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney
19
     for Shellby L. Moore that the status conference, currently scheduled for September 8, 2016, be
20
     continued to October 6, 2016 at 10:00 a.m.
21
            Defense counsel requires additional time to review discovery with the defendant and
22   pursue investigation.
23          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24   excluded of this order’s date through and including October 6, 2016; pursuant to 18 U.S.C.
25   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
26   based upon continuity of counsel and defense preparation.
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28
     Stipulation to Continue Status Conference       -1-                          U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 29 Filed 09/08/16 Page 2 of 3



1           Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3                                                  Respectfully submitted,

4    Dated: September 6, 2016                      HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ Noa E. Oren
6                                                  NOA E. OREN
                                                   Assistant Federal Defender
7                                                  Attorney for Defendant
8    Dated: September 6, 2016
                                                   PHILLIP A. TALBERT
9                                                  Acting United States Attorney
10                                                 /s/ Michelle Rodriguez
                                                   MICHELLE RODRIGUEZ
11                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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     Stipulation to Continue Status Conference       -2-                            U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 29 Filed 09/08/16 Page 3 of 3



1                                            ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds
4    the failure to grant a continuance in this case would deny counsel reasonable time necessary for
5    effective preparation, taking into account the exercise of due diligence. The Court further finds
6    the ends of justice are served by granting the requested continuance and outweigh the best
7    interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    October 6, 2016, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the September 8, 2016 status conference shall be continued until October 6,
13   2016, at 10:00 a.m.
14           IT IS SO ORDERED.
15   Dated: September 7, 2016
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     Stipulation to Continue Status Conference         -3-                              U.S. v Moore, 16-cr-147
